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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

MARK SHAFFER, MARGARET MAULDIN,
CHARAFEDDINE ZAITOUN, and MARK
LESSIN, individually and on behalf of all               No. 1:20-cv-01145-RJL
others similarly situated,
                                                        Hon. Richard J. Leon
                            Plaintiffs,

        v.

THE GEORGE WASHINGTON
UNIVERSITY and THE BOARD OF
TRUSTEES OF GEORGE WASHINGTON
UNIVERSITY,

                            Defendants.


                          LCvR 16.3(c) JOINT SCHEDULING PLAN

        Plaintiffs MARK SHAFFER, MARGARET MAULDIN, CHARAFEDDINE ZAITOUN,

and MARK LESSIN and Defendants THE GEORGE WASHINGTON UNIVERSITY and THE

BOARD OF TRUSTEES OF GEORGE WASHINGTON UNIVERSITY, by and through their

undersigned counsel, hereby submit their Joint Scheduling Plan. To the extent that all parties are

able to reach agreement on items, the parties have so indicated. To the extent that the parties

differ in their positions, they separately set forth those positions.

A.      Whether the case is likely to be disposed of by dispositive motion; and whether, if a
        dispositive motion has already been filed, the parties should recommend to the
        Court that discovery or other matters should await a decision on the motion.

        Agreed Position: Defendants have answered the Complaint. The parties’ positions on

summary judgment are listed below in Section F.




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B.      The date by which any other parties shall be joined or the pleadings amended, and
        whether some or all the factual and legal issues can be agreed upon or narrowed.

        Agreed Position: At this time, no factual or legal issues can be agreed upon or narrowed.

Plaintiffs should be allowed until July 12, 2022 to file motions to join additional parties and until

October 3, 2022 to file motions to amend the pleadings. Defendants reserve the right to oppose

any such motions. Motions filed after the foregoing dates will require, in addition to any other

requirements under the applicable rules, a showing of good cause for the delay.

C.      Whether the case should be assigned to a magistrate judge for all purposes,
        including trial.

        Agreed Position: The case should not be assigned to the magistrate judge for all purposes,

including trial.

D.      Whether there is a realistic possibility of settling the case.

        Agreed Position: The parties agree to discuss the possibility of ADR and settlement as the

case progresses.

        Plaintiffs’ Position: Plaintiffs maintain the position that there exists a realistic possibility

of settling this case. Numerous settlements have been reached between universities and classes

involving the allegations of the type raised in this case. See, e.g., In re Columbia University

Tuition Refund Action, No. 1:20-cv-03208 (S.D.N.Y.); Wright v. Southern New Hampshire

University, No. 1:20-cv-00609 (D.N.H.); D’Amario v. University of Tampa, No. 7:20-cv-03744

(S.D.N.Y.); Rosado v. Barry University, No. 1:20-cv-21813 (S.D. Fla.); Martin v. Lindenwood

University, No. 4:20-cv-01128-RLW (E.D. Mo).

        Defendants’ Position: Defendants do not believe there is a realistic possibility at this time

of settling this case on a classwide basis. Defendants will entertain any individual (non-class)

settlement demand any plaintiff chooses to make, and will continue to reevaluate their position

on classwide settlement as the case evolves.


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E.     Whether the case could benefit from the Court's alternative dispute resolution
       (ADR) procedures (or some other form of ADR); what related steps should be taken
       to facilitate such ADR; and whether counsel have discussed ADR and their response
       to this provision with their clients.

       Agreed Position: The parties participated in the D.C. Circuit’s court-annexed mediation

program while the Court’s decision granting the motion to dismiss was on appeal. No settlement

was reached. Counsel for the parties have advised their clients regarding the Court’s ADR

procedures and other forms of ADR, and the parties agree to discuss the possibility of ADR and

settlement as the case progresses.

       Plaintiffs’ Position: Plaintiffs believe that the case could benefit from the Court’s

alternative dispute resolution (or some other form of ADR).

       Defendants’ Position: Defendants do not believe that the case would benefit from ADR at

this time. Defendants will continue to reevaluate their position on classwide settlement, and the

possibility of ADR, as the case evolves.

F.     Whether the case can be resolved by summary judgment or motion to dismiss; dates
       for filing dispositive motions and/or cross-motions, oppositions, and replies; and
       proposed dates for a decision on the motions.

       Agreed Position: All parties intend to move for summary judgment.

       Plaintiffs’ Position: Summary judgment motions and other dispositive motions (including

Daubert motions) may be filed no sooner than April 17, 2023 or, as applicable to Plaintiffs,

within 30 days of the Court’s ruling certifying a class (if any). The non-moving party will have

30 days to respond to any such motion, and the moving party will have 30 days to reply.

       Defendants’ Position: Defendants respectfully submit that summary judgment motion

practice, directed at the individual claims of the named plaintiffs, may be appropriate in this case

and may obviate the need for class certification motion practice. To that end, Defendants




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respectfully submit that summary judgment motions may be filed at any time before April 17,

2023.

G.      Whether the parties should stipulate to dispense with the initial disclosures required
        by Fed. R. Civ. P. 26(a)(1), and if not, what if any changes should be made in the
        scope, form or timing of those disclosures.

        Agreed Position: The parties agree to continue with the initial disclosures required under

Fed. R. Civ. P. 26(a)(1), with no changes to the scope or form of the same. Initial disclosures will

be served by July 15, 2022.

H.      The anticipated extent of discovery, how long discovery should take, what limits
        should be placed on discovery; whether a protective order is appropriate; and a
        date for the completion of all discovery, including answers to interrogatories,
        document production, requests for admissions, and depositions.

        Agreed Position: At this time, the parties do not believe that any changes to the

limitations on discovery imposed under the Federal Rules of Civil Procedure or the Local Rules

of this Court are necessary. To the extent that a potential need to change the limitations on

discovery comes to the attention of a party, the parties agree to meet and confer regarding the

same. The parties agree that a protective order will be necessary and agree to meet and confer to

submit an agreed protective order separately for this Court’s review and approval. All discovery

shall close on March 31, 2023. However, within 14 days of the Court’s decision on class

certification, the parties further agree to meet and confer in good faith regarding any remaining

discovery to be conducted in light of the Court’s decision on class certification.

I.      Any issues about disclosure, discovery, or preservation of electronically stored
        information, including the form or forms in which it should be produced.

        Agreed Position: The parties anticipate that discovery will include the production of

electronically stored information. The parties agree to meet and confer to determine whether to

submit an agreed document production protocol for this Court’s review and approval and, if so,

to negotiate a protocol.


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J.     Any issues about claims of privilege or of protection as trial-preparation materials,
       including—if the parties agree on a procedure to assert these claims after
       production—whether to ask the court to include their agreement in an order under
       Federal Rule of Evidence 502.

       Agreed Position: The parties have discussed discovery procedures that minimize the risk

of waiver of privilege or work-product protection and agree to establish procedures for asserting

privilege and work product claims. The parties agree to meet and confer and include specific

procedures for asserting claims of privilege or protection of documents after production.

K.     Whether the requirement of exchange of expert witness reports and information
       pursuant to Fed. R. Civ. P. 26(a)(2), should be modified, and whether and when
       depositions of experts should occur.

       Agreed Position: Plaintiffs shall serve any expert reports and disclosures pursuant to Fed.

R. Civ. P. 26(a)(2) relating to the merits of their claims or to class certification on or before

January 16, 2023. Depositions of any such experts will be completed by February 15, 2023.

Defendants shall serve any expert reports and disclosures pursuant to Fed. R. Civ. P. 26(a)(2)

relating to Plaintiffs’ claims, Defendants’ defenses, or class certification on or before February

15, 2023. Depositions of such experts will be completed by April 14, 2023.

L.     In class actions, appropriate procedures for dealing with Rule 23, Fed. R. Civ. P.
       proceedings, including the need for discovery and the timing thereof, dates for filing
       a Rule 23 motion, and opposition and reply, and for oral argument and/or an
       evidentiary hearing on the motion and a proposed date for decision.

       Agreed Position: Plaintiffs’ class certification motion will be filed on or before January

16, 2023. Defendant’s response to Plaintiffs’ class certification motion will be filed on or before

March 15, 2023. Plaintiffs’ reply in support of class certification will be filed on or before April

28, 2023. Any oral argument and/or evidentiary hearing should occur at a date and time

convenient for the Court on or after May 15, 2023, with June 16, 2023 as the proposed date for

decision.




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M.     Whether the trial and/or discovery should be bifurcated or managed in phases, and
       a specific proposal for such bifurcation.

       Agreed Position: The parties agree that formal bifurcation or phasing of discovery is not

warranted. The parties agree, however, to consider the necessity and proportionality of any

discovery in light of the procedural posture of the case, including deadlines for and the pendency

of various motions, and will discuss in good faith whether to defer certain discovery within the

discovery period based on such considerations.

N.     The date for the pretrial conference (understanding that a trial will take place 30 to
       60 days thereafter).

       Agreed Position: The parties respectfully submit that setting any pretrial conference is

premature and should be set only after class certification and summary judgment have been

decided.

O.     Whether the Court should set a firm trial date at the first scheduling conference or
       should provide that a trial date will be set at the pretrial conference from 30 to 60
       days after that conference.

       Agreed Position: The parties agree that the Court should not set a firm trial date at the

first scheduling conference but should rather schedule any trial at the pretrial conference.

P.     Such other matters that the parties believe may be appropriate for inclusion in a
       scheduling order.

       Agreed Position: No such other matters are necessary for inclusion at this time.




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Dated: June 23, 2022                     Respectfully submitted,

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